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IN THE UNITED STATES DISTRICT COURT
FOR THE CENTRAL DISTRICT OF CALIFORNIA

 

Case No. CV 19-3756 DMG (MRW)
RONALD ANTHONY GOMEZ,

Petitioner,

JUDGMENT

v.
CHRISTIAN PFEIFFER, WARDEN
Respondent.

 

 

 

Pursuant to the Order Accepting Findings and Recommendations of
the United States Magistrate Judge,
IT IS ADJUDGED that the petition is denied and this action is

dismissed with prejudice.

DATED: October 19, 2020 mm, he
DOLLY(M. GEE

UNITED STATES DISTRICT JUDGE

 

 
